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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


DIOP KAMAU,

       Plaintiff,

vs.                                             Case No. 4:25cv233-AW-MAF

JONATHAN JOHNSON,
et al.,

     Defendants.
_______________________________/


                                  ORDER

       Defendant Jonathan Johnson, proceeding pro se, filed a notice of

removal, ECF No. 1, on May 16, 2025. Defendant asserts that removal is

appropriate based on the pro se Plaintiff’s allegations of diversity

jurisdiction and the fact that the amount in controversy exceeds $75,000.

Id. at 1-3.

       As this case involves pro se litigants, this case has been referred to

the undersigned Magistrate Judge pursuant to Local Rule 72.2(E). The

Court has reviewed the notice of removal, ECF No. 1, as well as the

documents attached thereto from state court, ECF No. 1-1.
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       As required by 28 U.S.C. § 1446(a), Defendant Johnson filed the

notice of removal “together with a copy of all process, pleadings, and

orders” from the state court action. ECF No. 1-1. The state court record

shows that Plaintiff Diop Kamau filed case number 2025 CA 809 in state

court1 on May 7, 2025. ECF No. 1-1 at 3. Thus, the notice of removal was

filed in the proper federal court pursuant to 28 U.S.C. § 1441(a).2

       The notice of removal appears to have been timely filed pursuant to

28 U.S.C. § 1446(b)(1)3 as the state court record shows the complaint was

filed on May 7th, and the notice of removal was filed on May 16th. ECF

No. 1. Thus, Defendant sought removal within thirty days of receipt of the

complaint, see ECF No. 1 at 2, as required by 28 U.S.C. § 1446(b)(1).

       Defendant asserts that this Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1332 based on the allegations presented by


       1
        The complaint was filed in the Circuit Court of the Second Judicial Circuit, in
and for Leon County, Florida. ECF No. 1-1 at 8
       2
          That statute provides that “any civil action brought in a State court of which the
district courts of the United States have original jurisdiction, may be removed by the
defendant or the defendants, to the district court of the United States for the district and
division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).
       3
         Pursuant to § 1446(b)(1), a notice of removal must be "filed within 30 days after
the receipt by the defendant, through service or otherwise, a copy of the initial pleading
setting forth the claim for relief upon which such action or proceeding is based . . . ." 28
U.S.C. § 1446(b)(1).

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Plaintiff in the state court complaint. ECF No. 1 at 3. Plaintiff alleged he

was a resident of Florida, and that all other Defendants4 were resident of

other states. ECF No. 1-1 at 11-2.

      However, this Court has an independent duty to ensure that it has

jurisdiction, regardless of the Plaintiff’s allegations in the initial complaint.

ECF No. 1-1. Arbaugh v. Y&H Corp., 546 U.S. 500, 514, 126 S.Ct. 1235,

1244, 163 L.Ed.2d 1097 (2006) (explaining that courts “have an

independent obligation to determine whether subject-matter jurisdiction

exists, even in the absence of a challenge from any party”); see also

Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1228

(11th Cir. 2017) (stating, “when the parties do not do their part, the burden

falls on the courts to make sure parties satisfy the requirements of diversity

jurisdiction”).

      Two of the Defendants named in this case are Janakan Thiagarajah

and Bellwether Law, PLLC, the law firm of Defendant Thiagarajah. ECF

No. 1-1 at 11-12. Plaintiff alleged Defendant Thiagarajah “is an attorney

licensed in D.C.” and also alleged that Bellwether Law is “a firm located in



      4
          It does not appear that any other Defendant has been served with process.

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D.C.” Id. at 11-12. The complaint did not clearly allege residency of the

parties.

      However, judicial notice is taken that Plaintiff Diop Kamau previously

sued both of those defendants in this Court in case number 4:24cv207-AW-

MAF. This Court determined that Defendant Thiagarajah is a resident of

the state of Florida and that Bellwether is a Florida business entity,

registered to do business in Florida and - as of December 2024 - had a

principle address in Delray Beach, Florida. See ECF No. 34 of case

number 4:24cv207. The fact that Bellwether also conducts business in the

District of Columbia does not mean that it is not a Florida limited liability

company and the fact that Defendant Thiagarajah is also licensed to

practice law in the District of Columbia is not determinative of his

residency. Because both of those Defendants appear to be Florida

residents, diversity jurisdiction would not exist in this case. See 28 U.S.C.

§ 1332(a)(1); MacGinnitie v. Hobbs Grp., LLC, 420 F.3d 1234, 1239 (11th

Cir. 2005) (noting that diversity jurisdiction requires complete diversity of

citizenship, meaning that “no defendant ... [is] a citizen of the same state as

any plaintiff”) (quoted in Delaney v. Daily J. Corp., No. 22-10788-BB, 2022

WL 17246365, at *1 (11th Cir. June 30, 2022)).

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      Without diversity jurisdiction, this case cannot continue in federal

court and would, necessarily, have to be remanded. Plaintiff identified six

separate causes of action within the complaint filed in state court: fraud,

tortious interference with a business, defamation, malicious prosecution,

civil conspiracy to defraud, and abuse of process. ECF No. 1-1 at 8, 15-21.

All of those causes of action are state law claims.

      In light thereof, Defendant Johnson and Plaintiff shall have until June

2, 2025, to show good cause why this case should not be remanded to

state court for lack of diversity jurisdiction. In the alternative, Plaintiff may

file a motion to remand, clearly explaining why he believes the case should

be remanded to state court.

      Accordingly, it is

      ORDERED:

      1. The parties have until June 2, 2025, to show good cause why this

case should not be remanded to state court for lack of diversity jurisdiction

pursuant to 28 U.S.C. § 1332(a)(1).

      2. Alternatively, Plaintiff may file a motion for remand to state court,

by June 2, 2025.



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      3. The Clerk of Court shall return this case upon the parties’ filing of

responses to this Order, or no later than June 2, 2025.

      DONE AND ORDERED on May 20, 2025.



                                   S/ Martin A. Fitzpatrick
                                   MARTIN A. FITZPATRICK
                                   UNITED STATES MAGISTRATE JUDGE




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